     Case 1:16-cv-00039-NT Document 20 Filed 06/02/16 Page 1 of 2                 PageID #: 67




                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE

                                          )
BLAKE HARWOOD                             )
                                          )
                                          )
                 Plaintiff                )
                                          )
v.                                        )
                                              Civil Action Docket No. 1:16-cv-00039-NT
                                          )
CITY OF WATERVILLE,                       )
JOSEPH MASSEY,                            )
BRIAN GARDINER, and                       )
ADAM SIROIS                               )
                                          )
                Defendant                 )


                                STIPULATION OF DISMISSAL

         Now come the parties in this matter, by and through undersigned counsel, and hereby

stipulate to the dismissal of all claims against Defendants City of Waterville, Joseph Massey,

Brian Gardiner, and Adam Sirois, pursuant to Fed. R. Civ. P. 41(a)(1)(ii). The dismissal shall be

with prejudice, and without costs to any party.

Dated: June 2, 2016                                  /s/ Justin W. Andrus_________
                                                     Justin W. Andrus
                                                     Law Office of Justin W. Andrus
                                                     25 Mill Street, Second Floor
                                                     Brunswick, ME 04011
                                                     (207) 449-3883
                                                     Justin@justinandrus.com

                                                     /s/ Kasia S. Park
                                                     Edward R. Benjamin, Jr.
                                                     Kasia S. Park
                                                     Drummond Woodsum
                                                     84 Marginal Way, Suite 600
                                                     Portland, ME 04101-2480
                                                     Telephone (207) 772-1941
                                                     ebenjamin@dwmlaw.com
                                                     kpark@dwmlaw.com
 Case 1:16-cv-00039-NT Document 20 Filed 06/02/16 Page 2 of 2                 PageID #: 68




                               CERTIFICATE OF SERVICE

        I hereby certify that on June 2, 2016, I electronically filed the above Stipulation of
Dismissal with the Clerk of the Court using the CM/ECF system, which will send notification of
such filings to all counsel of record.



                                                          /s/ Justin W. Andrus_____
                                                          Justin W. Andrus
